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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Donna M. Gritters
                                           Plaintiff,
v.                                                         Case No.: 1:14−cv−00916
                                                           Honorable Jorge L. Alonso
Ocwen Loan Servicing, LLC., et al.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 21, 2018:


        MINUTE entry before the Honorable Jorge L. Alonso: Motion hearing held. For
the reasons stated on the record, Plaintiff's motion for reconsideration [241] is denied.
Status hearing remains set for 7/24/18. Notices mailed by judge's staff (ntf, )




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